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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 THOMAS SIERRA,                                   )
                                                  )          Case No. 18 C 3029
              Plaintiff,                          )
                                                  )          Hon. John Z. Lee,
              v.                                  )          District Judge
                                                  )
 REYNALDO GUEVARA, et al.,                        )          Hon. M. David Weisman,
                                                  )          Magistrate Judge
              Defendants.                         )

    CITY OF CHICAGO’S POSITION STATEMENT ABOUT MONELL DISCOVERY

       Defendant City of Chicago (“the City”), by and through its undersigned attorneys,

respectfully submits this position statement pursuant to this Court’s October 21, 2021 Order that the

parties provide “a proposal for how to move forward with Monell discovery.” (Dkt. 339).

       The October 21, 2021 Order followed a series of orders addressing Monell discovery. On

September 10, 2021, this Court denied the City’s Motion for Protective Order to Prevent Undue

Strain on Public Resources for Speculative Monell Discovery (“City’s Motion”) (Dkt. 328), where

the City advocated that the Monell discovery Sierra demanded is irrelevant and only creates an

unnecessary burden on non-party public entities, particularly the Cook County Public Defender’s

Office (CCPDO) and the Cook County State’s Attorney’s Office (CCSAO). Then, on September

20, 2021, this Court granted the CCPDO’s motion to quash Sierra’s subpoena for hundreds of files,

commenting that to call Sierra’s attempt a fishing expedition does a disservice to fisherman, and

ruling the burden outweighs the benefit because Sierra does not even know what exculpatory

evidence he is looking for. (Dkt. 333; Ex. 1, Tr., 9/20/21, p.5). While the Court denied the City’s

motion, it agreed with the City’s arguments in part, stating that the idea the CCPDO files are a

barometer of what was produced is “a bit fanciful.” Ex. 1 at p. 14.
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        As such, all motions related to the Monell discovery in this case have been decided. Sierra

has not issued any additional discovery, nor has he moved to reconsider. And, despite multiple

opportunities to do so in the over three years this case has been pending, Sierra has still not identified

a single police report that the CPD failed to produce to him in violation of Brady v. Maryland to

justify this “labyrinth of discovery” in the first instance. (Dkt. 333 at p.2).

        For these reasons, it is unclear what the Court is asking the City to do. While Sierra has

suggested that the parties rely on the set of files MJ Harjani ordered produced in the Solache/Reyes

cases, and the Court stated that it was strongly considering that proposal, there is no pending motion

requiring an order from this Court. 1 If Sierra intends to rely on the Solache/Reyes files and abandon

all other discovery avenues, a Court order is unnecessary. He will simply produce those files, just

as he has routinely reproduced discovery from other cases here.

        Rather, what Sierra appears to want is some order binding the City to the Solache/Reyes files.

Because there is no pending motion, it is unclear if Sierra is asking the Court to rule that the

Solache/Reyes files are sufficient to prove his Monell theories here, that they are a representative

sample of the City’s policies, or something else. But Rule 26 allows the Court to grant or deny

discovery; it does not allow the Court to make qualitative judgments about how the parties will make

use of the discovery in resolving the claims. And, if the Court were inclined to bind the City in some

way to this set of files, the only articulated basis is Sierra’s claim that they are convenient because

another Court ordered them but under a different analysis.

        Bear in mind, MJ Harjani did not grant the CCPDO’s motion to quash in Solache/Reyes like

this Court did. And, even though MJ Harjani previously ordered the production of some CCPDO


1
 See Novelty, Inc. v. Mt. View Marketing, No. 1:07-cv-01229-SEB-JMS, 2009 U.S. Dist. LEXIS 153600, at
*7 (S.D. Ind. Oct. 15, 2009) (declining to issue advisory opinion about hypothetical discovery requests that
have not been provided to the Court); Orthoarm, Inc. v. American Orthodontics Corp., No. 06-C-0532, 2009
U.S. Dist. LEXIS 140343, at *3 (E.D. Wis. Feb. 9, 2009) (rejecting an advisory opinion on issues that have
not ripened); Kmoch v. Klein, Case No. 95 C 2256, 1996 U.S. Dist. LEXIS 3916, at *9 (N.D. Ill. Mar. 28,
1996) (an advisory opinion regarding discovery would be unwise and improper).
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files, the City’s Motion is still pending. 2 Indeed, before ruling on the City’s Motion, MJ Harjani

required plaintiffs to file the documents they claim CPD withheld in violation of Brady. Plaintiffs

identified several documents that they claim CPD withheld, but the City’s Response makes clear

that the documents plaintiffs claimed were missing were produced. (Reyes, 18-cv-1028, Dkt. 523).

Ultimately, all the plaintiffs could describe as withheld Brady material were two photos, one photo

was of the murdered mother’s niece, and the other of plaintiffs’ housemate who gave a handwritten

statement in the case. (Reyes, Dkt. 532). The City directs the Court to the briefs for more detail, but,

in sum, under no circumstances is either photo evidence that undermines the fact that the two

plaintiffs confessed to invading a family’s home, stabbing the parents, and stealing their orphaned

children, in cooperation with their codefendant, Adriana Mejia, who, to this day, maintains her guilt

and theirs. (Reyes, Dkt. 523, p. 6-9). Thus, if MJ Harjani grants the City’s Motion and reverses the

ruling on the CCPDO files, there is even less reason to entertain Sierra’s reliance on those files here.

        Accordingly, if the Court is requesting the City respond to Plaintiff’s proposal that the City

agree that the parties rely in some way on the Solache/Reyes files, the City will not agree to do so.

This is no different than asking the City to stipulate. Sierra’s attempt to use the City’s decision not

to stipulate to gain an advantage in the discovery dispute is a red herring. No Court has considered

it. Rather, Sierra’s inability to litigate his Monell theories within the bounds of Rule 26 is one that

he created, and, apparently, cannot solve. Flipping the issue on to the City to avoid the problem is

wrongheaded. He is asking the City to stipulate to something to avoid having to prove it. Sure, that

is a less expensive route. It is less work in discovery. But it is unthinkable because it is not the

City’s obligation to help Sierra overcome his burden of proof when he cannot do it on his own.




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  Even though the City filed its motion in several cases, this Court is the only one that denied it. The other
Courts asked for briefing, and the motions are still pending. At a hearing, Magistrate Judge Cox questioned
the plaintiff’s counsel to identify some document in the City’s file that was withheld, and he could not, causing
the Judge to remark that she may revisit bifurcation. Ex. 2, Bouto, 19-cv-2441, Tr,, 9/22/21, p. 7-10.
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       To the extent that the Court is requesting the City to opine in some way on whether this Court

can order the parties to rely on the Solache/Reyes files, the City cannot do so absent motion practice

that cannot occur until after the full complement of Solache/Reyes files have been produced. Under

the current schedule, that should happen January 10, 2022, when the CCSAO produces its files. That

is the only way for the City to evaluate and respond to the legal and evidentiary basis Sierra offers

to support his position and, quite frankly for this Court to issue any order on the topic.

       That said, there are obvious problems with Sierra’s proposal that jump out now. One is that

the City is not in a position to agree to what discovery is sufficient or appropriate for Sierra to prove

his claim. Sierra bears the burden of proof. The City has argued ad nauseam that Sierra has not

identified any document the CPD failed to produce to him in violation of Brady. In that case, the

City cannot envision any avenue for Sierra to prove his Monell theory using the CCPD files at all.

In fact, despite being in possession of the City’s files for almost a year, Sierra has not yet issued any

follow up discovery related to the CPD files (besides requesting CCPDO files) or provided any

supplemental disclosures, leaving the City to guess how this discovery leads to Monell liability.

And, convenience cannot be a reliable method to choose the discovery when Sierra will use it to

generalize about the City’s policies as a whole. As explained at a recent hearing, plaintiffs in

Solache/Reyes relied upon an expert analysis to choose a random sample of CCPDO files to draw

conclusions in that case, that methodology has already failed because the CCPDO could not find all

the files, meaning that set of files is already insufficient to meet the plaintiffs’ expert’s standards.

Why, then, would the files be sufficient for any purpose here? That is Sierra’s question to answer

because it is Sierra’s burden of proof.

       Finally, the City does not object to the Court requiring Sierra to pursue targeted discovery

before the Court orders any CCPDO production. For instance, Sierra could start by identifying all

the exculpatory evidence in each of the CPD files, so the parties know what to look for in the

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companion files. There may be none, in which case Sierra is at a dead-end again, and there is no

reason to burden the CCPDO or the CCSAO.

Dated: November 5, 2021                             Respectfully Submitted,

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                                                    Corporation Counsel of the City of Chicago

                                                   By: /s/ Eileen E. Rosen_____________
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